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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC,

         Plaintiff,
                                         C.A. No. 1:18-cv-00682-GMS
    v.
                                         TRIAL BY JURY DEMANDED
BJ’S WHOLESALE CLUB, INC.‚

         Defendant.


 PLAINTIFF SYMBOLOGY INNOVATIONS LLC’S OPPOSITION TO DEFENDANT
   BJ’S WHOLESALE CLUB, INC.’S RULE 12(b)(6) MOTION TO DISMISS FOR
                    FAILURE TO STATE A CLAIM
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  I.   NATURE AND STAGE OF THE PROCEEDINGS

       Symbology Innovations LLC’s (“SI”) filed this lawsuit on April 13, 2018 alleging the

infringement U.S. Patent Nos. 8,424,752 (the “’752 patent”); 8,651,369 (the “’369 patent”);

8,936,190 (the “’190 patent”) (collectively the “Patents-in-Suit”). In response, BJ’s Wholesale

Club, Inc., (“BJ” or “Defendant”) filed a Motion to Dismiss SI’s complaint for failure to state

claim under Federal Rule of Civil Procedure 12(b)(6) (the “Motion to Dismiss”) on May 8, 2018.

See D.I. No. 8.

 II.   SUMMARY OF THE ARGUMENT

       BJ alleges that the Patents-in-Suit purportedly do not embrace patent eligible subject

matter. See D.I. No. 8 at p. 5. Particularly, BJ incorrectly contends that the claims are directed to

the abstract idea of data recognition and retrieval and that none of the claims recite any non-

conventional hardware or software. Id. A more thorough analysis of the Patents-in-Suit

demonstrates that BJ is mistaken. Contrary to BJ’s contentions, the claims of the Patents-in-Suit

are directed to improvements in computer-related technology as discussed by the Federal Circuit

in Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1334 (Fed. Cir. 2016). Specifically, the

technology covered by the Patents-in-Suit improves the manner in which an electronic device

processes symbology associated with an object through the performance of particular steps in

order to provide information about the object to a user of the device. As such, the claims are not

directed to an abstract idea but rather at addressing a specific issue within computer technology.

In any event, SI is filing an Amended Complaint concurrently with this opposition to the Motion

to Dismiss including additional allegations showing that the claims contain an inventive concept.

See Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121, 1126–27 (Fed. Cir.




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2018) (“We have held that patentees who adequately allege their claims contain inventive

concepts survive a § 101 eligibility analysis under Rule 12(b)(6).”)

         Additionally, BJ alleges that the Complaint fails because it purportedly does not allege

facts suggesting that it practices the claimed invention. See D.I. No. 8 at p. 5. The Complaint,

however, provide facts which plausibly show that BJ infringes the Patents-in-Suit. As such, SI

properly pled infringement of the Patents-in-Suit.

         In view of the foregoing and the reasons set forth below the Court should deny BJ’s

Motion to Dismiss.

III.     STATEMENT OF FACTS

         The Patents-in-Suit are similar in scope1 and disclose systems and methods for enabling a

portable electronic device to retrieve information about an object—such as article of commerce,

product, service, or any item associated with various types of symbology—when the object's

symbology is detected. Particularly, the Patents-in-Suit address and solve a problem existent

within computer technology at the time of the invention. Namely, improving the manner in

which an electronic device processes symbology associated with an object through the

performance of particular steps and provides information about the object to a user of the device,

thus making existing electronic devices at the time of the invention more dynamic and efficient.

See ‘752 patent, 1:65-2:16. Moreover, the claimed systems and methods allow for the automatic

detection of symbology; alerting a user whether symbology has been detected; and asking

whether decoding of the symbology is desired. See ‘752 patent, 11:25-34. As noted in the

specification, portable devices at the time of the invention could be “enhanced with software

applications to enable information retrieval procedures as described in the present disclosures.”

1
  In the Motion to Dismiss, BJ indicates that claim 1 of the ‘752 patent is representative of the claims in the Patents-
in-Suit. That statement, however, is inaccurate. The more accurate statement would be that claim 1 of the ‘752
patent is only representative of the independent claims in the Patents-in-Suit.

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Id. at 3:50-55. As such, the claimed methods and systems covered by the Patents-in-Suit address

and overcome a particular problem within computer technology. Defendant uses such methods

and systems and as such, infringes the Patents-in-Suit.

         It is worth noting that neither the parent patent nor the continuation applications claiming

priority to the Patents-in-Suit (collectively, the “Patent Family”), were rejected under 35 U.S.C.

§ 101 as being directed to patent-ineligible subject matter during the corresponding prosecution.

See Exhibits 1-8 – Office Actions for each member of the Patent Family. The claims covered by

the Patent Family are generally similar in scope and were filed between 2010 and 2017. In total,

the Patent Family comprises seven applications that have matured into patents; and one

application that is currently pending. None were rejected as being directed to an abstract idea.

This is compelling and persuasive evidence from the United States Patent and Trademark Office

that the Patents-in-Suit are not directed to patent ineligible subject matter.

         By focusing of individual components of the claims BJ contends that the claimed

methods and systems disclosed in the Patents-in-Suit suit are conventional. See D.I. No. 8 at p. 7.

As discussed below, however, taken together as an ordered combination, the claims recite an

invention that is neither routine nor conventional.

IV.      APPLICABLE LAW
      A. Motion to Dismiss for Failure to State a Claim

         Under Rule 12(b)(6), a plaintiff's “[f]actual allegations must be enough to raise a right to

relief above the speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).

That is, the “complaint must contain sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Twombly, 550 U.S. at 570).



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       A claim has facial plausibility when the pleaded factual content allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged. Ashcroft, 556

U.S. at 678). In other words, plausibility should not be treated as a “probability requirement at

the pleading state; it simply calls for enough fact[s] to raise a reasonable expectation that

discovery will reveal” the defendant is liable for the misconduct alleged. In re Bill of Lading

Transmission & Processing Sys. Patent Lit., 681 F.3d 1323, 1341 (Fed. Cir. 2012) (quoting

Twombly, 550 U.S. at 556).

       Patent eligibility can be determined at the Rule 12(b)(6) stage. Aatrix Software, 882 F.3d

at 1125 (citations omitted). This is true only when there are no factual allegations that, taken as

true, prevent resolving the eligibility question as a matter of law. As the Federal Circuit has

explained, “plausible factual allegations may preclude dismissing a case under § 101 where, for

example, ‘nothing on th[e] record ... refutes those allegations as a matter of law or justifies

dismissal under Rule 12(b)(6).’” FairWarning IP, LLC v. Iatric Sys., Inc., 839 F.3d 1089, 1097

(Fed. Cir. 2016) (quoting Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d

1341, 1352 (Fed. Cir. 2016)). If there are claim construction disputes at the Rule 12(b)(6) stage,

the court must proceed by adopting the non-moving party's constructions, Bascom, 827 F.3d at

1352; or the court must resolve the disputes to whatever extent is needed to conduct the § 101

analysis, which may well be less than a full, formal claim construction. Aatrix Software, 882

F.3d at 1125 (citations omitted).

   B. Patent Eligibility under 35 U.S.C. § 101

       Section 101 of the Patent Act defines the subject matter eligible for patent: “Whoever

invents or discovers any new and useful process, machine, manufacture, or composition of

matter, or any new and useful improvement thereof, may obtain a patent therefor, subject to the



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conditions and requirements of this title.” See 35 U.S.C. § 101. The judicially recognized

exceptions from this provision are for “[l]aws of nature, natural phenomena, and abstract ideas.”

Alice Corp. Pty. v. CLS Bank Int'l, 134 S.Ct. 2347, 2354 (2014) (citing Association for

Molecular Pathology v. Myriad Genetics, Inc., 133 S.Ct. 2107, 2116 (2013)). These exceptions

represent “the basic tools of scientific and technological work.” Alice, 134 S.Ct. at 2354 (quoting

Ass'n for Molecular Pathology, 133 S.Ct. at 2116). The rationale behind these exceptions is “one

of pre-emption” grounded on the “concern that patent law not inhibit further discovery by

improperly tying up the future use of these building blocks of human ingenuity.” Id. However,

the Supreme Court has cautioned unequivocally that “we tread carefully in construing this

exclusionary principle lest it swallow all of patent law” because “[a]t some level, all inventions

... embody, use, reflect, rest upon, or apply laws of nature, natural phenomena, or abstract ideas.”

Id.

       In Alice, the Supreme Court set forth a two-part test for patent eligibility. Id. at 2355.

First, the court determines whether the claims at issue are directed towards an abstract idea. Id. If

so, then the court asks “what else is there in the claims before us?” Id. To answer the question,

the court considers “the elements of each claim both individually and as an ordered combination

to determine whether the additional elements transform the nature of the claim into a patent-

eligible application.” Id. This second step is the search for an “inventive concept,” or some

element or combination of elements sufficient to ensure that the claim in practice amounts to

“significantly more” than a patent on an ineligible concept. Id.; see also DDR Holdings, LLC v.

Hotels.com, L.P., 773 F.3d 1245, 1255 (Fed. Cir. 2014).

       In determining whether the claims are directed to an abstract idea, the Supreme Court has

recognized, that “fundamental economic practice[s],” Bilski v. Kappos, 561 U.S. 593, 611



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(2010), “method[s] of organizing human activity,” Alice, 134 S. Ct. at 2356, and mathematical

algorithms, Gottschalk v. Benson, 409 U.S. 63, 64 (1972), are abstract ideas. See also, DDR

Holdings, LLC, 773 F.3d at 1256. Courts have also found that processes that can be “performed

mentally” or that are “equivalent of human mental work” are directed to abstract ideas. See

CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1373 (Fed.Cir.2011); see also

Chamberlain Grp., Inc. v. Linear LLC, 114 F. Supp. 3d 614, 626 (N.D. Ill. 2015). At this step,

“the claims are considered in their entirety to ascertain whether their character as a whole is

directed to excluded subject matter.” McRO, Inc. v. Bandai Namco Games Am. Inc., 837 F.3d

1299, 1312 (Fed. Cir. 2016) (citing Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343,

1346 (Fed. Cir. 2015)).

       In McRO the Federal Circuit unequivocally stated: “We have previously cautioned that

courts must be careful to avoid oversimplifying the claims by looking at them generally and

failing to account for the specific requirements of the claims.” Id. at *7 (citing In re TLI

Commc'ns LLC Patent Litig., 823 F.3d 607, 611 (Fed. Cir. 2016)). Importantly, the “mere

recitation of a generic computer cannot transform a patent-ineligible abstract idea into a patent-

eligible invention” but this is not “a license to delete all computer-related limitations from a

claim and thereby declare it abstract.” Perdiemco, LLC v. Industrack LLC, No. 2:15-CV-1216-

JRG-RSP, 2016 WL 5719697, at *5 (E.D. Tex. Sept. 21, 2016), report and recommendation

adopted, No. 2:15-CV-727-JRG, 2016 WL 5475707 (E.D. Tex. Sept. 29, 2016) (quotations and

citations omitted). Importantly, claims are not directed to an abstract idea if the claimed subject

matter does not preempt the use of the abstract idea on the Internet or on generic computer

components performing conventional activities. Bascom, 827 F.3d at 1352.




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       Similarly, claims “purport[ing] to improve the functioning of the computer itself,” or

“improv[ing] an existing technological process” are not drawn to abstract ideas, Alice, 134 S. Ct.

at 2358-59; see also Enfish, 822 F.3d at 1335. Additionally, the Federal Circuit has recognized

that patent claims are not directed to an abstract idea where “the focus of the claims is on the

specific asserted improvement in computer capabilities ..., [rather than] on a process that

qualifies as an ‘abstract idea’ for which computers are invoked merely as a tool.” Enfish, 822

F.3d at 1336. “If the claims are not directed to an abstract idea, the inquiry ends. McRO, Inc. v.

Bandai Namco Games Am. Inc., supra.

       At Alice step two, courts determine whether the claims encompass “significantly more”

than the abstract idea. At this step, courts also look at whether the claims “merely recite the

performance of some business practice known from the pre-Internet world along with the

requirement to perform it on the Internet” or whether “the claimed solution is necessarily rooted

in computer technology in order to overcome a problem specifically arising in the realm of

computer networks.” DDR Holdings, LLC, 773 F.3d at 1257.

       In other words, even if the claims are directed to abstract concepts they may still be

patent-eligible when the claim limitations “are not necessary or obvious tools” that pre-empt or

preclude the use of other solutions in the technological field. California Inst. of Tech. v. Hughes

Commc'ns Inc., 59 F. Supp. 3d 974, 994 (C.D. Cal. 2014). Furthermore, “[t]he inventive concept

inquiry requires more than recognizing that each claim element, by itself, was known in the art.”

Bascom, 827 F.3d at 1350. That is, “an inventive concept can be found in the non-conventional

and non-generic arrangement of known, conventional pieces.” Id.

   C. Burden of proof of patent invalidity




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       Patents are entitled to a presumption of validity. See 35 U.S.C. § 282. Pursuant to the

Patent Act, the party asserting the invalidity of a patent or any claim thereof bears the burden of

proof. Id. For this reason, a party arguing that a patent claims ineligible subject matter under 35

U.S.C. § 101 must prove this by clear and convincing evidence. See Microsoft Corp. v. i4i Ltd.

P'ship, 564 U.S. 91, 95 (2011); see also, Wolf v. Capstone Photography, Inc., No. 2:13-CV-

09573, 2014 WL 7639820, at *5 (C.D. Cal. Oct. 28, 2014) (“[P]rior to claim construction, a

patent claim can be found directed towards patent ineligible subject matter if the only plausible

reading of the patent must be that there is clear and convincing evidence of ineligibility.”)

(quotations and citations omitted); DataTern, Inc. v. Microstrategy, Inc., No. CV 11-11970-FDS,

2015 WL 5190715, at *7 (D. Mass. Sept. 4, 2015); 01 Communique Lab., Inc. v. Citrix Sys., Inc.,

151 F. Supp. 3d 778, 787 (N.D. Ohio 2015); Front Row Techs., LLC v. NBA Media Ventures,

LLC, No. CIV 10-0433 JB/SCY, 2016 WL 5404094, at *32 (D.N.M. Aug. 30, 2016).



 V.    ARGUMENT


   A. The Patents-in-Suit are directed to Patent Eligible Subject Matter

       BJ contends that the Court should dismiss the Complaint pursuant to Rule 12(b)(6) for

failure to state a claim because 1) the claims purportedly cannot be meaningfully distinguished

from those held patent-ineligible in Secured Mail Solutions LLC v. Universal Wilde, Inc., 873

F.3d 905 (Fed. Cir. 2017); and 2) because SI purportedly failed to allege facts to show

plausibility of its patent infringement claims. See D.I. No. 8 at p. 10. As discussed below,

however, the Patents-in-Suit are directed to improvements in computer-related technology and,

as such, are not directed to an abstract idea. As discussed below, however, both arguments are

incorrect.


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        a) Step 1: The Asserted Claims are not drawn to an abstract idea

        BJ incorrectly argues that the Patents-in-Suit are invalid under 35 U.S.C. § 101 because

they purportedly fail both prongs of the Alice test and that each of the claims is directed to the

abstract idea of data recognition and retrieval. See D.I. No. 8 at p. 10. This argument, however,

oversimplifies the technology covered by the Patents-in-Suit. Under the two-part test for

determining patent eligibility a court must “first determine whether the claims at issue are

directed to a patent-ineligible concept.” Alice, 134 S.Ct. at 2355. If that threshold determination

is met, the court must “consider the elements of each claim both individually and ‘as an ordered

combination’ to determine whether the additional elements ‘transform the nature of the claim’

into a patent-eligible application.” Id.

        It must be noted that the Patents-in-Suit are not directed to the type of subject matter that

has been invalidated by courts under 35 U.S.C. § 101. For instance, claim 1 is not directed to a

fundamental economic practice, a method of organizing human activity, or a mathematical

algorithm. Moreover, the limitations of the Asserted Claims cannot be performed mentally and

are not the “equivalent of human mental work.” See CyberSource Corp., 654 F.3d at 1373.

Instead, the Patents-in-Suit are directed to solving a problem within computer technology at the

time of the invention which cannot be done by a person. As previously noted, the subject matter

claimed by the Patents-in-Suit improves the manner in which an electronic device automatically

retrieves and decodes information from a symbol that is associated with an object in order for

said information to be displayed on the electronic device. See ‘752 patent, 1:65-2:16.

        BJ contends that all that claim 1 “explains is a way to use a barcode to obtain information

in order to access a webpage, consisting of nothing more than a set of basic ideas like capturing,

detecting, decoding, sending, receiving, and displaying data” See D.I. No. 8 at p. 11. However,

such characterization is too broad and oversimplifies the claims since the claims are not directed
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to any of those actions individually. Such oversimplification omits the combination of steps that

allow an electronic device to automatically detect a symbol and decode it into information about

an object that is subsequently displayed on the device, as recited in the claims. As noted in Alice,

describing the claims at such a high level of abstraction and untethered from the language of the

claims all but ensures that the exceptions to § 101 swallow the rule. See Alice, 134 S.Ct. at 2354

(noting that “we tread carefully in construing this exclusionary principle [of laws of nature,

natural phenomena, and abstract ideas] lest it swallow all of patent law”).

       Furthermore, as explained by the Federal Circuit “the ‘directed to’ inquiry … cannot

simply ask whether the claims involve a patent-ineligible concept, because essentially every

routinely patent-eligible claim involving physical products and actions involves a law of nature

and/or natural phenomenon…” Enfish, 822 F.3d at 1335. “Rather, the ‘directed to’ inquiry

applies a stage-one filter to claims, considered in light of the specification, based on whether

‘their character as a whole is directed to excluded subject matter.’” Id. In Enfish, the Federal

Circuit also noted that claims are not directed to an abstract idea if “the focus of the claims is on

the specific asserted improvement in computer capabilities ..., [rather than] on a process that

qualifies as an ‘abstract idea’ for which computers are invoked merely as a tool.” Id. at 1336.

Applying that test, the Federal Circuit rejected a § 101 challenge because the claims at issue

focused on a specific improvement—a particular database technique—in how computers could

carry out one of their basic functions of storage and retrieval of data.

       Here, the claims do not merely call for a device that captures an image or detects a

symbol. Rather, the claims—and particularly claim 1—require an electronic device to detect

symbology within an image; send symbology information to the appropriate applications

residing on the electronic device for decoding; decode the symbology to obtain a decode string;



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send the decode string to a server configured to identify one or more objects associated with the

symbology; determine the object associated with the symbology using the decode string; and

then gather information about that object in order to display it to the user of the electronic device.

See ’752 patent, 3:12-28. Furthermore, the Patents-in-Suit provide for the automatic selection of

a scanning application upon recognition of symbology. Id. As noted in the Patents-in-Suit,

existing portable devices could be enhanced with software applications to enable information

retrieval procedures as described in the Patents-in-Suit. Id. at 3:50-55. Accordingly, the

combination of the aforementioned steps and/or functionalities—as embodied in claim 1 and

claims dependent therefrom—resulted in the enhancement or improvement of electronic devices

at the time of the invention. In other words, it made the existing electronic devices more dynamic

and efficient. Thus, through the performance of the particular steps recited in claim 1, the

Patents-in-Suit improve the manner in which an electronic device processes symbology

associated with an object and provides information about the object to a user of the device.

Therefore, the Patents-in-Suit represent an improvement to computer capabilities and are note

directed to an abstract idea.

       BJ further contends that courts have found similar claims to be patent ineligible. See D.I.

No. 8 at p. 13. The cases discussed by BJ, however, are distinguishable from the case at bar. For

example, in Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat. Ass'n, 776 F.3d

1343, 1347 (Fed. Cir. 2014) the Federal Circuit agreed with the district court that the claims at

issue were “drawn to the abstract idea of 1) collecting data, 2) recognizing certain data within the

collected data set, and 3) storing that recognized data in a memory” and indicated that the

“concept of data collection, recognition, and storage [was] undisputedly well-known […]” since

“humans [had] always performed these functions.” Id. After all, banks had “for some time,



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reviewed checks, recognized relevant data such as the amount, account number, and identity of

account holder, and stored that information in their records.” Id. As such, the Federal Circuit

concluded that the claims were “drawn to the basic concept of data recognition and storage.” Id.

In the case at bar however, the claims are not directed to “functions” that have always been

performed by humans or banks as in Content Extraction. For example, humans cannot

automatically detect symbology associated with an object within an image, decode the

symbology to obtain a decode string, send the decode string to a remote server for processing,

receive information about the object from the server based on the decode string of the object and

display the information, as recited in claim 1. In other words, unlike banks reviewing checks and

storing the information for their records (i.e., data recognition and storage), the claimed steps are

not “functions” that have been historically performed by humans. As such, the claims are not

directed to an abstract idea as BJ contends.

       BJ also relies on RecogniCorp, LLC v. Nintendo Co., 855 F.3d 1322 (Fed. Cir. 2017),

cert. denied, 138 S. Ct. 672, 199 L. Ed. 2d 535 (2018) to support its contention that the Patents-

in-Suit are purportedly directed to an abstract idea. See D.I. 10 at pp. 9-10. In that case the

Federal Circuit concluded that the claim at issue was directed to the abstract idea of encoding

and decoding image data because it merely claimed a method whereby a user displayed images

on a first display, assigned image codes to the images through an interface using a mathematical

formula, and then reproduced the image based on the codes. RecogniCorp, 855 F.3d at 1326.

Particularly, the Federal Circuit noted that “a method whereby a user starts with data, codes that

data using ‘at least one multiplication operation,’ and ends with a new form of data” as required

by the claim at issue, was directed to an abstract idea. Id. at 1327. Here, however, the claims are

not merely directed to encoding data using a multiplication operation in order to obtain a new



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form of data. Unlike RecogniCorp, claim 1 of the Patents-in-Suit is directed to a method that

improves the functioning of a computer. As discussed above, thanks to the steps recited in claim

1, the Patents-in-Suit improved the manner in which an electronic device could process

symbology associated with an object and provide information about the object to a user of the

electronic device. As such, the claims at issue are distinguishable from the claim in

RecogniCorp.

       Lastly, BJ relies on Secured Mail to argue that the Patents-in-Suit are directed to patent

ineligible subject matter. See D.I. 10 at p. 15. In that case all the patents involved methods in

which a sender affixes an identifier on the outer surface of a mail object (e.g., envelope or

package) and the Federal Circuit agreed with the district court’s analysis that the claims were

directed to an abstract idea. See Secured Mail, 873 F.3d at 907-09. Furthermore, the Federal

Circuit noted that the claims were not directed to an improvement in computer functionality

because, for example, the claims were not directed to a new barcode format, an improved method

of generating or scanning barcodes, or similar improvements in computer functionality and that

the claims merely generically provided for the encoding of various data onto a mail object but

did not set out how this is to be performed. Id. at p. 910. Here, however, the claims do not

require affixing an identifier on the outer surface of an envelope or package or merely encoding

data onto a mail object; rather the claims set out a method in which information is presented

about an object on a portable electronic device after the performance of specific steps. BJ argues

that claim 1 merely claims a desired result without describing any specific roadmap for doing so,

see D.I. 10 at p. 16, but claim 1 requires the performance of particular steps before information is

displayed on an electronic device; steps which as discussed above, result in the improvement and




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enhancement of portable devices at the time of the invention. As such Secured Mail is

distinguishable from the case at bar.

       BJ further argues that dependent claim 6 is also directed to the abstract idea of data

recognition and retrieval; and that the inventor failed to disclose any details of how the process

described in claim 6 was accomplished in a non-conventional way. See D.I. No. 8 at p. 16. BJ

does not explain how the steps recited in claim 6, in combination with the steps recited in the

claims from which it depends on (i.e., claims 1 and 5), are merely conventional steps. In any

event, such argument fails to consider that the elements of each claim both individually and as an

ordered combination must be considered to determine whether the claims recite an invention that

is not merely routine or conventional. See DDR Holdings, 773 F.3d at 1259. Here, the ordered

combination of the steps in claim 1, as further limited by the steps in claim 6, requires the

performance of steps, which as discussed above, result in the improvement and enhancement of

portable devices at the time of the invention. Thus, claim 6 is not directed to an abstract idea.

       Since claim 1 focuses on a specific improvement to computer capabilities the Patents-in-

Suit are not directed to an abstract idea as BJ contends. See Enfish, 822 F.3d at 1335-39 (In

which the Court asked whether the focus of the claims is on the specific asserted improvement in

computer capabilities or instead on a process that qualifies as an “abstract idea” for which

computers are invoked merely as a tool.) As such, BJ contention that the Patents-in-Suit are

directed to an abstract idea must be rejected.


       b) Step 2: Claim 1 recites an inventive concept

       In addition, BJ’s Motion to Dismiss fails because the claims recite an inventive concept.

As previously noted, at this step courts also look at whether the claims “merely recite the

performance of some business practice known from the pre-Internet world along with the


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requirement to perform it on the Internet” or whether “the claimed solution is necessarily rooted

in computer technology in order to overcome a problem specifically arising in the realm of

computer networks.” DDR Holdings, LLC, 773 F.3d at 1257.

       The claims, and in particular claim 1, are not drawn to a business practice known from

the pre-Internet world along with a requirement to perform it on the Internet. On the contrary,

claim 1 represent an improvement to computer capabilities, as discussed above. BJ argues that

each step recited in claim 1 “is described only at a high level of generality as ‘capturing a digital

image,’ ‘detecting’ a barcode, ‘decoding [the barcode] . . . to obtain a decode string,’ ‘sending

the decode string to a remote server for processing,’ ‘receiving information . . . from the remote

server,’ and ‘displaying the information.’” However, this does not represent “a license to delete

all computer-related limitations from a claim and thereby declare it abstract.” Perdiemco, LLC v.

Industrack LLC, supra (quotations and citations omitted). BJ forgets that the Alice Court advised

that it “tread carefully in construing this exclusionary principle lest it swallow all of patent law.”

Alice, 134 S.Ct. at 2354. Under BJ’s overbroad and general interpretation, nearly all inventions

would be invalid under 35 U.S.C. § 101.

       Furthermore, BJ’s analysis is improper because it focuses on the individual components

recited in claim 1 to reach the conclusion that the claimed components do not improve the

functioning of the computer itself. See D.I. 10 at p. 18. In particular, BJ’s focus on individual

components fails to consider the elements of the claim as an ordered combination. Individual

elements when viewed on their own may not appear to add significantly more, but when viewed

in combination may amount to significantly more than any purported abstract idea. See Alice,

134 S.Ct. at 2355. Viewed as a whole or as an ordered combination, claim 1 recites a “specific

improvement to the way computers operate”. Enfish, 822 F.3d at 1336. As discussed above,



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through the performance of the particular steps recited in claim 1, the Patents-in-Suit improve the

manner in which an electronic device processes symbology associated with an object and

provides information about the object to a user of the device. Thus, contrary to BJ’s contention

the Patents-in-Suit improve the functioning of a computer itself.

       As noted by the Federal Circuit in Bascom, the inventive concept inquiry requires more

than recognizing that each claim element, by itself, was known in the art. See Bascom, 827 F.3d

at 1350. The claims in that case were directed to filtering internet content using a remote,

customizable filter. The Federal Circuit agreed with the district court that that filtering content

was an abstract idea because it was a longstanding, well-known method of organizing human

behavior. Id. at 1348. However, the Federal Circuit found the claims eligible under Step 2,

stating that they recited a non-conventional and non-generic ordered combination of known,

conventional pieces. Id. at 1350. The Federal Circuit characterized the inventive concept as “the

installation of a filtering tool at a specific location, remote from the end-users, with customizable

filtering features specific to each end user.” Id. In particular, Federal Circuit noted that “by

taking a prior art filter solution […] and making it more dynamic and efficient […], the claimed

invention represented a ‘software-based invention[ ] that improve[s] the performance of the

computer system itself.’” Id. at 1351. Here, BJ indicates that the point of novelty of the Patents-

in-Suit is the result of providing a convenient way for scanning barcodes. See D.I. No. 8 at p. 19.

This is false. As explained above, through the performance of the particular steps recited in claim

1, the Patents-in-Suit improve the manner in which an electronic device processes symbology

associated with an object and provides information about the object to a user of the device, thus

making existing electronic devices at the time of the invention more dynamic and efficient.




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Therefore, as in Bascom, the specific method recited in claim 1 cannot be said to be conventional

or generic.

       BJ also argues in conclusory fashion that the remaining claims of the Patents-in-Suit are

also directed to the abstract idea of data recognition and retrieval. See D.I. 10 at pp. 20-22. But

aside from providing legal conclusions devoid of any support, BJ does not show by clear and

convincing evidence that all remaining claims are directed to an abstract idea. See Microsoft

Corp., 564 U.S. at 95; see also, Wolf, 2014 WL 7639820, at *5 (“[P]rior to claim construction, a

patent claim can be found directed towards patent ineligible subject matter if the only plausible

reading of the patent must be that there is clear and convincing evidence of ineligibility.”) Thus,

BJ’s argument as to the remaining claims must be stricken from their Motion to Dismiss for

inadequate pleading.

       BJ further argues that the Patents-in-Suit risk preempting “all automated methods or

systems for recognizing a pattern […] and retrieving data based on that.” See D.I. 10 at p. 22.

BJ’s argument exaggerates the scope of the Patents-in-Suit and has no basis in reality. The

Patents-in-Suit would only preempt someone in the United States from performing each and

every step of the claimed method. After all that is the right that was granted under the patent

statute. See 35 U.S.C. § 271. It would not preempt all methods of data retrieval or someone who

only scanned or decoded a pattern, or someone who merely displayed information on a display

device. In Bascom the Federal Circuit concluded that the claims at issue did not preempt all ways

of filtering content on the Internet; rather, they recited a specific, discrete implementation of the

abstract idea of filtering content. See Bascom, 827 F.3d at 1350. In particular, there were no

preemption concerns because the patent described how its particular arrangement of elements

was technical improvement over prior art ways of filtering such content. Id. As explained above,



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through the performance of the particular method recited in claim 1, the Patents-in-Suit improve

the manner in which an electronic device processes symbology associated with an object and

provides information about the object to a user of the device, thus making existing electronic

devices at the time of the invention more dynamic and efficient. Thus, construed in favor of SI as

they must be in this procedural posture, the claims of the Patents-in-Suit do not preempt the use

of any purported abstract idea on generic computer components performing conventional

activities. See Bascom, 827 F.3d at 1352.

       In sum, BJ did not show by clear and convincing evidence that the Patents-in-Suit are

invalid; and since the claims are drawn to a patent-eligible inventive concept, BJ’s Motion to

Dismiss must be denied.


   B. SI plead sufficient detail to provide notice of its infringement allegations


       SI’s Complaint explains and provides examples of how BJ infringes each limitation in

claim 1 of the Patents-in-Suit. See D.I. No. 1 at ¶¶ 23-28, 37-42 and 51-56. Specifically, the

complaint states that Defendant infringes the Patents-in-Suit by using and/or incorporating QR

codes into exercise equipment in a manner covered by one or more claims of the Patents-in-Suit.

Id. For example, at least through internal testing, used or incorporated QR codes into exercise

equipment, associating such QR codes with products and/or services. One specific example of

Defendant’s activity involves the use of QR codes on exercise equipment associated with

Defendant’s products/services. Id.

       The Complaint further asserts that at least through internal testing, Defendant has used a

digital image capturing device of a portable electronic device, such as the camera component of a

smart phone for example, to capture a digital image of the QR code associated with its

products/services and exercise equipment. Defendant’s capture of the digital image is processed

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by scanning technology loaded onto the portable electronic device. Id. The scanning technology

detects symbology (for example, a pattern within the QR code) associated with an object (for

example, the product or service associated with the QR code). Id. The scanning technology is

then used to decode the symbology to obtain a decode string. Id. The decode string is sent to a

remote server for further processing. Based on the decode string, the remote server sends

information associated with the QR code, which is received by the user of the portable electronic

device and displayed on a display associated with the portable electronic device. Id.

Additionally, the complaint states that Defendant uses a visual detection system (e.g., a smart

phone camera and QR code scanning application) that is configured to automatically detect the

symbology (e.g., the symbology is automatically detected when scanned by the visual detection

system). Id.

          Therefore, SI has pled enough facts to allow this Court to draw the reasonable inference

that BJ infringes the Patents-in-Suit. BJ argues that SI has not pleaded sufficient detail to provide

notice of its infringement allegations with respect to claim 6. See D.I. 10 at p. 22. Such

argument, however, is moot in view of SI’s Amended Complaint. Moreover, the Amended

Complaint will include additional allegations which taken as true, would directly affect the

district court's patent eligibility analysis and prevent the court from resolving the eligibility

question as a matter of law. See Aatrix Software, 882 F.3d at 1125–27 (“We have held that

patentees who adequately allege their claims contain inventive concepts survive a § 101

eligibility analysis under Rule 12(b)(6).”) For this reason, the Motion to Dismiss should also be

denied.



VI.       CONCLUSION


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   The Court should deny the Motion to Dismiss because the Patents-in-Suit are not directed to

an abstract idea, but rather represent an improvement to computer capabilities. Namely,

improving the manner in which an electronic device processes symbology associated with an

object through the performance of particular steps in order to provide information about the

object to a user of the device, thus making existing electronic devices at the time of the invention

more dynamic and efficient.

       Thus, for the reasons set forth above, the Motion to Dismiss should be denied.



Dated: June 12, 2018                           Respectfully Submitted,

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